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 7
                                   UNITED STATES DISTRICT COURT
 8
                                  NORTHERN DISTRICT OF CALIFORNIA
 9
                                          SAN JOSE DIVISION
10
     __________________________________________
11   SECURITIES AND EXCHANGE COMMISSION, Civil Action No.
12                   Plaintiff,
                                                          COMPLAINT FOR PERMANENT
13          vs.                                           INJUNCTION AND OTHER RELIEF
14   DAVID CHANG and QWAI HOONG LOW,                      DEMAND FOR JURY TRIAL
15                   Defendants.
16

17
            Plaintiff Securities and Exchange Commission (the “Commission”) alleges, on
18
     information and belief:
19
                                     SUMMARY OF THE ACTION
20
            1.       This is an insider trading case in which Defendant David Chang (“Chang”)
21
     purchased securities in nVIDIA Corporation (“nVIDIA” or the “Company”) based on
22
     confidential information he learned while employed by the Company and made $70,813 in illegal
23
     trading profits. Chang shared this information with his friend, Qwai Hoong Low (“Low”), who
24
     bought nVIDIA stock and made $18,439.06 in illegal profits.
25
            2.       On March 6, 2000, Chang, who was then an nVIDIA engineer, purchased 1,000
26
     shares of nVIDIA stock for approximately $59,144 based on his advance knowledge that the
27
     Company had just won a lucrative contract with Microsoft Corporation (“Microsoft”). Chang
28

                                                                                 COMPLAINT
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 1
     placed an order to purchase another 1,000 nVIDIA shares on March 7, which was executed the
 2
     next day for a total purchase price of $82,582. Within days, the price of nVIDIA stock soared as
 3
     the market learned of the contract. Chang made $70,813 in unlawful profits. His tippee, Low,
 4
     purchased 500 nVIDIA shares on March 6, 2000 for $30,217 and made illegal profits of
 5
     $18,439.06.
 6
            3.         By trading on material, nonpublic information concerning nVIDIA’s contract with
 7
     Microsoft, Defendants violated Section 10(b) of the Securities Exchange Act (“Exchange Act”)
 8
     of 1934 [15 U.S.C. §78j(b)] and Rule 10b-5 [17 C.F.R. 240.10b-5] thereunder.
 9
                                  AUTHORITY TO BRING THIS ACTION
10
            4.         The Commission brings this action pursuant to Sections 21(d), 21(e), and 21A of
11
     the Exchange Act [15 U.S.C. §§ 78u(d), 78u(e), and 78u-1(c)].
12
            5.         Defendants, directly and indirectly, have engaged in transactions, acts, practices
13
     and courses of business that constitute violations of Section 10(b) of the Exchange Act [15
14
     U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. 240.10b-5] promulgated thereunder.
15
            6.         Defendants will, unless enjoined, continue to engage in the acts, practices and
16
     courses of business alleged herein, or in transactions, acts, practices and courses of business of
17
     similar purport and object.
18
                                        JURISDICTION AND VENUE
19
            7.         This Court has jurisdiction over this action pursuant to Sections 21(e), 21A and 27
20
     of the Exchange Act [15 U.S.C. §§ 78u(e), 78u-1 and 78aa].
21
            8.         Defendants, directly or indirectly, made use of the means or instrumentalities of
22
     interstate commerce, or of the mails, or of the facilities of a national securities exchange in
23
     connection with the transactions, acts, practices and courses of business alleged herein.
24
            9.         Venue in this District is proper pursuant to Section 27 of the Exchange Act [15
25
     U.S.C. § 78aa]. Defendants reside and transact business in the Northern District of California.
26
            10.        Assignment to the San Jose Division is appropriate pursuant to Civil Local Rule
27
     3-2(c) and (e).
28
                                                                                    COMPLAINT

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 1
                                                 DEFENDANTS
 2
            11.       Chang, age 41, resides in San Jose, California. At all relevant times, Chang was
 3
     employed by nVIDIA as an engineer at its offices in Santa Clara, California.
 4
            12.       Low, age 50, resides in Cupertino, California. At all relevant times, Low was
 5
     employed as an engineer at a San Francisco Bay Area software company.
 6
                                             RELEVANT ENTITY
 7
            13.       nVIDIA is a Delaware corporation, with its principal place of business in Santa
 8
     Clara, California, that develops and markets computer graphics components. nVIDIA’s common
 9
     stock is registered with the Commission pursuant to Section 12(g) of the Exchange Act and is
10
     publicly quoted on the Nasdaq National Market.
11
                                   DEFENDANTS’ ILLEGAL CONDUCT
12
                          Chang Bought nVIDIA Securities on December 9, 1999
13
       After Learning that Microsoft Had Informed nVIDIA It Had Won the X-Box Contract
14
            14.       Beginning in 1999, nVIDIA competed for a contract to supply graphics
15
     accelerator components for Microsoft’s anticipated video game console, the “X-Box.” On the
16
     evening of December 8, 1999, at 9:18 p.m., nVIDIA’s president and chief executive officer, Jen-
17
     Hsun Huang (“Huang”), sent an electronic mail message (“email”) to all nVIDIA employees
18
     informing them that Microsoft would award the X-Box contract to nVIDIA. That email, entitled
19
     “We Won XBOX,” read in part:
20
                  We were officially informed today that we’ve won the Microsoft xbox!
21                 xbox is Microsoft and NVIDIA’s response to the Playstation 2. . . .
22
                  Financially, xbox will generate hundreds of millions of dollars for
                  NVIDIA. . . . I know word is spreading in the company. But I need all
23                of you to keep a tight lid on this. . . . The contract is not signed, so let’s
                  play it safe and keep the news to ourself [sic].
24
            15.       At the time the “We Won XBOX” email was distributed, the information
25
     concerning the X-Box was confidential and nonpublic.
26
            16.       After he arrived at work on December 9, 1999, Chang read the “We Won XBOX”
27
     email. Based on the information in the “We Won XBOX” email, beginning at 9:28 a.m., Chang
28
                                                                                       COMPLAINT

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 1
     placed orders to purchase a total of 600 shares of nVIDIA stock, spending approximately
 2
     $22,636. Later that morning, Chang purchased short-term call options. Chang bought 3 January
 3
     45 call options for $860. Each January 45 call option gave Chang the right, prior to their January
 4
     22, 2000, to purchase 100 shares of nVIDIA stock at $45 per share.
 5
             17.      In late February, 2000, however, Microsoft informed nVIDIA that it would award
 6
     the X-Box to an nVIDIA competitor, GigaPixel Corporation. Huang conveyed this information
 7
     to nVIDIA’s employees and contract workers in a February 23, 2000 email entitled “xbox
 8
     update.” The email stated that while “[t]he deal is clearly not done yet,” nVIDIA had been “told
 9
     by Microsoft that they had decided to go with Gigapixels [sic].”
10
             Chang and Low Purchased nVIDIA Stock During the Week of March 6, 2000
11
                                  After Learning of the Microsoft Contract
12
             18.      Negotiations between nVIDIA and Microsoft, however, continued in late February
13
     and early March 2000. On Sunday, March 5, 2000, nVIDIA and Microsoft entered into an
14
     agreement providing for nVIDIA to design and manufacture the 3D computer graphics and
15
     multimedia subsystem for the X-Box. That evening, Huang sent an email to all nVIDIA
16
     employees and contract workers informing them that nVIDIA had won the Microsoft contract.
17
     The email, entitled “X is Ours!,” stated, among other things:
18
                   Xbox deal is closed! . . . The deal is pretty simple -- we build a custom
19
                   chip . . . . Microsoft “prepays” us $200M (that’s right -- $200,000,000)
20                 as their commitment to the program. If Xbox becomes as big as Sony
                   Playstation, we generate about $2B in sales over 5 years.
21
             19.      At the time the “X is Ours!” email was distributed, nVIDIA’s receipt of the
22
     Microsoft contract was confidential, nonpublic information.
23

24           20.      The following morning, on March 6, 2000 at approximately 9:15 a.m., nVIDIA’s

25   vice president of marketing, Dan Vivoli (“Vivoli”), sent all nVIDIA employees an email entitled
26
     “xbox shhhhhh…,” reminding them that news of the X-Box contract was confidential. The
27
     email stated, in part:
28
                                                                                    COMPLAINT

                                                         4
                  Case 5:01-cv-21071-JW Document 1 Filed 11/19/01 Page 5 of 8



 1                [Huang] called me a few minutes ago (he is traveling) and asked that I
                  remind everyone to keep the xbox news quiet. Not a word to anyone
 2
                  outside of our walls. Let the news roll out in a controlled way.
 3                Microsoft plans to make the news public [March 10] at [an industry
                  conference]. But anything can happen; lets don’t jinx it!
 4
            21.      After he arrived at work at nVIDIA on Monday, March 6, 2000, Chang read the
 5
     March 5 email from Huang informing employees of the X-Box contract. In addition, Chang read
 6
     the March 6 email from Vivoli reminding nVIDIA employees that information concerning the X-
 7
     Box contract was confidential.
 8
            22.      Later in the morning of March 6, 2000, after reading these two emails, Chang
 9
     purchased nVIDIA stock through an online brokerage account. Based on the “X is Ours!” email,
10
     beginning at 10:26 a.m., Chang spent $59,144 to purchase a total of 1,000 shares of nVIDIA
11
     stock. Chang also tipped Low that morning and encouraged him to purchase nVIDIA stock.
12
     Low complied, purchasing 500 nVIDIA shares at 10:53 a.m. for a total purchase price of
13
     $30,217.
14
            23.      The next evening, on March 7, at 10:17 p.m., Chang placed an order to buy
15
     another 1,000 shares of nVIDIA stock. The order was executed on the morning of March 8, 2000
16
     for a total purchase price of $82,582.
17
                        nVIDIA’s Stock Price Rose in Response to X-Box Reports
18
            24.      On March 7, 2000, nVIDIA stock rose 42.4% to close at $83.31 per share as
19
     rumors were reported on the Internet and in the press that nVIDIA had won the X-Box contract.
20
     On March 9, 2000, nVIDIA stock rose another 19.4% to close at $100.30 per share.
21
            25.      On March 10, 2000, prior to the opening of the stock market, Microsoft publicly
22
     announced the award of the X-Box contract to nVIDIA. That day, nVIDIA stock rose another
23
     17.6% to close at $118 per share.
24
                         Chang’s Trades Violated nVIDIA’s Policies on Insider
25
                              Trading and Use of Confidential Information
26
            26.      At all relevant times, nVIDIA had an insider trading policy that prohibited its
27
     employees from trading in nVIDIA securities based on material, nonpublic information
28
                                                                                  COMPLAINT

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 1
     concerning the Company and from tipping outsiders with material, nonpublic information.
 2
     Chang received nVIDIA’s insider trading policy prior to the time he purchased nVIDIA stock on
 3
     March 6, 2000.
 4
                                           CLAIM FOR RELIEF
 5
                                              (Insider Trading)
 6
                              Violations of Section 10(b) of the Exchange Act
 7                       [15 U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. 240.10b-5]
                                          Promulgated Thereunde7
 8
            27.     Paragraphs 1 through 26 are re-alleged and incorporated herein by reference.
 9
            28.     Chang had a fiduciary duty to nVIDIA and its securities holders not to trade in
10
     nVIDIA securities, either directly or indirectly, based on material, nonpublic information
11
     concerning the Company. Chang breached that duty when he purchased nVIDIA stock on March
12
     6, 2000 based on material, nonpublic information concerning Microsoft’s award of the X-Box
13
     contract to nVIDIA and when he disclosed material, non-public information about nVIDIA to
14
     Low on March 6, 2000. By reason of their long-time, close personal relationship, Chang
15
     obtained a personal, non-monetary benefit by disclosing this information to Low so that Low
16
     could trade.
17
            29.      Low knew or was reckless in not knowing that Chang was acting in breach of his
18
     fiduciary duty to nVIDIA and its securities holders by disclosing to Low material, non-public
19
     information about nVIDIA on March 6, 2000.
20
            30.      Defendants, with scienter, directly or indirectly:
21
            a)       employed devices, schemes, or artifices to defraud;
22
            b)       made untrue statements of material facts or omitted to state material facts
23
                     necessary in order to make the statements made, in the light of the circumstances
24
                     under which they were made, not misleading; and
25
            c)       engaged in acts, practices, or courses of business which operated or would operate
26
                     as a fraud or deceit upon other persons, including purchasers and sellers of
27
                     securities;
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                                                                                  COMPLAINT

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 1
     in connection with the purchase or sale of securities, by the use of means or instrumentalities of
 2
     interstate commerce, of the mails, or the facilities of a national securities exchange.
 3
            31.      By reason of the foregoing, Defendants violated, and unless restrained and
 4
     enjoined will continue to violate, Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and
 5
     Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].
 6
                                          PRAYER FOR RELIEF
 7
            WHEREFORE, the Commission respectfully requests that this Court:
 8
                                                       I.
 9
            Permanently enjoin Defendants and their agents, servants, employees and attorneys, and
10
     those persons in active concert or participation with them who receive actual notice of the final
11
     judgment of permanent injunction by personal service or otherwise, and each of them, from
12
     directly or indirectly violating Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule
13
     10b-5 [17 C.F.R. 240.10b-5] thereunder;
14
                                                      II.
15
            Enter an Order requiring Defendants to disgorge an amount equal to their illegal trading
16
     profits from the securities transactions complained of herein, plus prejudgment interest;
17
                                                      III.
18
            Enter an Order requiring Defendants to pay civil penalties under Section 21A of the
19
     Exchange Act [15 U.S.C. § 78u-l]; and
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                                                                                   COMPLAINT

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 1
                                                    IV.
 2
          Grant such other relief as this Court may deem just and appropriate.
 3
     DATED: November 16, 2001
 4
                                                   Respectfully submitted,
 5

 6
                                                   /s/______________________________
 7
                                                   Helane L. Morrison
 8                                                 John S. Yun
                                                   Michael S. Dicke
 9                                                 Craig D. Martin
10                                                 Attorneys for Plaintiff
                                                   SECURITIES AND EXCHANGE COMMISSION
11                                                 44 Montgomery Street, Suite 1100
                                                   San Francisco, California 94104
12

13                                 DEMAND FOR JURY TRIAL

14        Plaintiff hereby demands a jury trial.

15                                                 By /s/______________________________

16                                                 Helane L. Morrison
                                                   John S. Yun
17                                                 Michael S. Dicke
                                                   Craig D. Martin
18
                                                   Attorneys for Plaintiff
19                                                 SECURITIES AND EXCHANGE COMMISSION
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21

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                                                                             COMPLAINT

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